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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

THE DAILY WIRE, LLC;

FDRLST MEDIA, LLC; and

THE STATE OF TEXAS, by and through its                Civil Action No.: 6:23-cv-00609
Attorney General, Ken Paxton,

             Plaintiffs,

      v.

DEPARTMENT OF STATE;

GLOBAL ENGAGEMENT CENTER;

ANTONY BLINKEN, in his official capacity as
Secretary of State;

LEAH BRAY, in her official capacity as Deputy
Coordinator of the State Department’s Global
Engagement Center;

JAMES P. RUBIN, in his official capacity as
Coordinator for the Global Engagement Center of the
State Department;

DANIEL KIMMAGE, in his official capacity as the
Principal Deputy Coordinator for the Global
Engagement Center at the State Department;

ALEXIS FRISBIE, in her official capacity as Senior
Technical Advisor of the Technology Engagement
Team for the Global Engagement Center at the State
Department;

PATRICIA WATTS, in her official capacity as the
Director of the Technology Engagement Team at the
Global Engagement Center at the State Department,

             Defendants.




                    EXHIBIT 8
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                              DECLARATION OF SEAN DAVIS

I, Sean Davis, hereby declare and state:
           1. I, Sean Davis, am over the age of 18 and make this Declaration in support of

   Plaintiffs’ Memorandum in Opposition to Defendants’ Motion to Transfer.

           2. I am the CEO and co-founder of The Federalist and I make this Declaration based

   on my personal knowledge and experience.

           3. The Federalist has two (2) full-time employees in the State of Texas.

           4. The Federalist has multiple paid subscribers within the Tyler Division of the U.S.

   District Court’s Eastern District of Texas.

           5. The Federalist website has hundreds of thousands of users within the State of Texas.

           6. I declare under penalty of perjury that the above is true and correct to the best of

   my knowledge and belief.

           Executed on March 14, 2024.

                                                            /s/ Sean Davis
                                                                Sean Davis
